                       Case 4:21-cr-00935-DC Document 1 Filed 10/04/21 Page 1 of 4
AO 91 (Rev. 08/09) Criminal Complaint                                                                                         FILED
                                                                                                                         October 04, 2021
                                    UNITED STATES DISTRICT COURT                                                        CLERK, U.S. DISTRICT COURT
                                                                                                                        WESTERN DISTRICT OF TEXAS

                                                                for the                                                       Yvette Lujan
                                                                                                                  BY: ________________________________
                                                                                                                                          DEPUTY
                                                     WesternDistrict
                                                    Western  DistrictofofTexas
                                                                          Texas
                                                 __________ District of __________
                                                          Pecos Division
                  United States of America                         )
                             v.                                    )
                                                                   )                        1010
                                                                           Case No. 4:21-mj-_________
            Alejandro ACEVEDO-Galindo                              )
                                                                   )
                                                                   )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 2, 2021                                 in the county of Culberson                               in the
Western District of Texas the defendant(s) violated:


             Code Section                                              Offense Description

     8 USC 1324(a)(1)(A)(ii)                      The defendant did knowingly and in reckless disregard of the fact that certain aliens
                                                  had come to, entered, and/or remained in the United States in violation of law, did
                                                  guide, transport, move and attempt to guide and move said aliens within the United
                                                  States in furtherance of said violation of law, and for the purpose of commercial
                                                  advantage or private financial gain.




This criminal complaint is based on the facts found in the
attached affidavit.                                                              /s/ Elizabeth J. Hancock
✔
’ Continued on the attached sheet.                                                            Complainant’s signature

                                                                                Elizabeth J. Hancock, Special Agent
         OATH TELEPHONICALLY                                                                   Printed name and title
          SWORN AT _9:00__ A.M.
         FED.R.CRIM.P. 4.1(b)(2)(A)


Date:              10/04/2021
                                                                                                 Judge’s signature

City and state:      Alpine, Texas                                                  Honorable Judge David B. Fannin
                                                                                         United States Magistrate Judge
                                                                                             Printed name and title




        Print                       Save As...                  Attach                                                       Reset
       Case 4:21-cr-00935-DC Document 1 Filed 10/04/21 Page 2 of 4




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                                     Pecos Division
   I, Elizabeth J. Hancock, being duly sworn, depose and state as follows:
                                    I. PROBABLE CAUSE

1. On October 2, 2021, at approximately 0938 hours, Homeland Security Investigations

   (HSI) Alpine, Texas Special Agent (SA) Hancock received a call from Border Patrol

   Intelligence Agent (BPIA) Talavera from the Van Horn Border Patrol Station stating

   Border Patrol Agents (BPAs) encountered a failed 1 on 9 human smuggling event. SA

   Hancock was advised Watch Commander (WC) Gomez was the point of contact

   regarding the incident. After making contact with WC Gomez, SA Hancock was advised

   that a concerned citizen observed multiple individuals getting into a truck parked on the

   side of Interstate 10 near mile marker 130. This area is located in the Western District of

   Texas.

2. After observing the incident, the concerned citizen called the Van Horn Border Patrol

   Station to notify on-duty Agents of the situation. This information was released through

   the Border Patrol radio system and Texas Department of Public Safety (TxDPS) Troopers

   were given the information as well. TxDPS Trooper Foster advised he was in the area

   and would be on the lookout for the vehicle. A short time later, Trooper Foster observed

   a light-colored Ford F-150 bearing Texas license plate number PCK0954 traveling east

   bound on Interstate 10. Trooper Foster followed the vehicle and observed the driver to

   fail to signal lane change. Trooper Foster conducted a traffic stop on the vehicle at

   approximately 0645 hours this date and the vehicle stopped near mile marker 158.
       Case 4:21-cr-00935-DC Document 1 Filed 10/04/21 Page 3 of 4




3. WC Gomez was advised of the traffic stop and arrived to assist Trooper Foster. During

   contact, the driver of the vehicle was identified as Alejandro ACEVEDO-Galindo. There

   were five other individuals observed in the passenger compartment of the truck as well.

   Immigration inspections were conducted on the individuals in the vehicle and they all,

   including ACEVEDO-Galindo, admitted to being present in the United States without

   proper documentation to stay. While detaining the individuals inside the vehicle, WC

   Gomez found four more individuals in the bed of the truck hiding under a cover. These

   individuals also admitted to being present in the United States without proper

   documentation to stay. A 15-year-old male juvenile was located in the bed of the truck as

   well and it was found he was unaccompanied. All 10 individuals were transported to the

   Van Horn Border Patrol Station for processing.

4. SA Hancock arrived at the Van Horn station to assist in the investigation. SA Hancock

   attempted to interview ACEVEDO-Galindo. After being advised of his rights,

   ACEVEDO-Galindo stressed concerns to SA Hancock about not being sure if he would

   be able to answer the questions to her liking, as well as alluding the to fact that he may be

   more comfortable with an attorney present so as not to make his situation worse.

   Questioning was ended at this point.

5. Upon conducting a criminal history check of ACEVEDO-Galindo, it was found that he

   had multiple arrests for violations of 8 USC 1325, Illegal Reentry, including dates

   showing to have occurred on March 12, 2012, and May 6, 2015. It appeared

   ACEVEDO-Galindo was incarcerated for the 2015 arrest for 7 days.
       Case 4:21-cr-00935-DC Document 1 Filed 10/04/21 Page 4 of 4




6. The United States Attorney’s Office was notified of the event, and they accepted the

   charge against Alejandro ACEVEDO-Galindo for a violation of 8 USC 1324(a)(1)(A)(ii),

   Transporting Illegal Aliens.

                                       II. CONCLUSION

   Based on the facts and circumstances stated above, I submit that there is probable cause

   to believe that Alejandro ACEVEDO-Galindo has committed a violation of Title 8,

   United States Code, Section 1324(a)(1)(A)(ii), Transportation of Illegal Aliens.



   I declare under penalty of perjury that the foregoing is true and correct to the best of my

   knowledge and belief.




                                                       /s/ Elizabeth J. Hancock
                                                 ____________________________________

                                                                      Elizabeth J. Hancock
                                                                              Special Agent
                                                            Homeland Security Investigations




                                                 ____________________________________
                                                            The Honorable David B. Fannin
                                                              United States Magistrate Judge
                                                   Western District of Texas (Pecos Division)
